        Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 1 of 25




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. Lin Wood, Jr.,

             Plaintiff,                               CIVIL ACTION FILE NO.
                                                      1:20-cv-04651-SDG
v.
Brad Raffensperger, in his official capacity
as Secretary of the State of Georgia, et al.,
             Defendants.


      [PROPOSED] INTERVENOR-DEFENDANTS’ RESPONSE IN
      OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR
                     INJUNCTIVE RELIEF

                              I.     INTRODUCTION

      Two days before the certification deadline for the 2020 general election, and

on the last day of the statewide hand recount of the 2020 presidential results, Plaintiff

seeks—among other unprecedented requests—to enjoin certification of five million

Georgians’ votes or, alternatively, to enjoin certification of the votes of the more

than one million Georgians who lawfully voted absentee by mail, and to install

Georgia Republican Party overseers for virtually every aspect of Georgia’s

signature-matching and ballot-counting election processes. But Plaintiff’s

emergency motion for injunctive relief (“Motion”)—premised on an eight-month-




                                          -1-
        Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 2 of 25




old settlement agreement and specious affidavits about the recount process that do

nothing to advance his claims—is as baseless as it is unprecedented.

      Indeed, as already set forth in the motion to dismiss filed by Proposed

Intervenor-Defendants Democratic Party of Georgia (“DPG”), DSCC, and DCCC

(together, “Political Party Committees”), ECF No. 8-1, Plaintiff’s claims fail for

want of jurisdiction, laches, and failure to state a claim. Plaintiff’s Motion further

fails for lack of proof. Plaintiff lacks standing to bring these claims, and his decision

to wait eight months and challenge the settlement agreement after the election legally

bars this lawsuit. Notwithstanding this inexplicable delay, Plaintiff provides no

factual support that would support the lofty constitutional claims he raises.

      All told, there is no emergency here. This is just the latest chapter in Plaintiff’s

effort to subvert the State of Georgia’s democratic processes by disenfranchising

millions of Georgia voters and to impose partisan control over the absentee voting

process by judicial fiat. Plaintiff’s claims are baseless, and his requested relief

untenable. The Motion should be denied.

                               II.    BACKGROUND

      On November 6, 2019, the Political Party Committees sued the Secretary of

State (the “Secretary”) and members of the State Board of Elections (the “Board”),

challenging Georgia’s signature matching laws under the First and Fourteenth




                                          -2-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 3 of 25




Amendments to the U.S. Constitution. The Political Party Committees asserted that

Georgia’s arbitrary and unreliable procedures for comparing absentee ballot

signatures and rejecting absentee ballots unconstitutionally deprived Georgians of

their right to vote. DPG v. Raffensperger, No. 1:19-cv-5028 (N.D. Ga.), ECF Nos.

1, 30. After weeks of arms-length negotiations, the parties entered into a settlement

agreement on March 6, 2020 (“Settlement Agreement”), which was publicly filed

that day. See id., ECF Nos. 56, 56-1.

      In the Settlement Agreement, the Secretary and Board agreed to initiate

rulemaking and issue guidance to the 159 counties to help ensure uniform and fair

treatment of voters within the existing statutory framework. See ECF No. 6-1. Thus,

the Secretary agreed to issue official guidance to increase uniformity in processing

absentee ballot signatures, and the Board agreed to promulgate and enforce a more

robust voter notification and cure process. See id. Neither step was unusual: The

Secretary routinely offers such guidance, and one function of the Board is to

promulgate and enforce rules regulating the conduct of Georgia elections. The Office

of the Georgia Attorney General and private counsel (who regularly represents both

the Georgia Republican Party and prominent Republican leaders) represented

Defendants and personally signed the Settlement Agreement. See id. at 6.




                                        -3-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 4 of 25




      The details of both procedures—the Secretary’s issuance of an Official

Election Bulletin (“OEB”) (signature verification) and Board’s issuance of a Rule

that proceeded through a full notice and comment period (notice and cure)—are laid

out in detail in the Political Party Committees’ Motion to Intervene, ECF No. 8, and

Motion to Dismiss, ECF Nos. 8-1, 8-2. Both procedures were widely publicized and

in place for several subsequent elections, including the June 9 primary, the August

11 primary runoff, and the November 3 general election. See Ex. 13 to Attorney

Declaration of Amanda R. Callais, filed contemporaneously herewith.

      On September 15, Georgia voters began casting absentee ballots for the

general election. Election officials began reviewing signatures on absentee ballot

envelopes as soon as the first absentee ballots were returned and concluded on

November 6, when the deadline to cure absentee ballots passed. For envelopes where

elections officials successfully matched signatures, they separated envelopes and

ballots for counting to protect the secrecy of those ballots. See O.C.G.A. § 21-2-

386(a)(2)–(3); see also S.E.B. Rule 183-1-14-0.9-15(4) (requiring absentee ballot

envelopes to be processed “in a manner that ensures that the contents of the envelope

cannot be matched back to the outer envelope”). This separation began on October

19 and continued throughout the initial counting period. See Ex. 13. Once a ballot is

separated from its envelope, it is impossible to trace an absentee ballot to a specific




                                         -4-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 5 of 25




voter, and any attempt to do so would violate state law. See S.E.B. Rule 183-1-14-

0.9-15(4).

      On November 11, following unsubstantiated complaints from Republican

leaders about the integrity of the elections, the Secretary announced that a statewide

hand recount of the presidential election would take place. See Ex. 3; see also Exs.

1–2. On November 12, the Secretary distributed the rules governing the recount and

held a statewide, public training on recount procedures for all election officials. See

Ex. 4; see also Ex. 3. Notably, the rules provided that “Political Parties are allowed

to designate a minimum of two monitors per county at a ratio of one monitor per

party for every ten audit boards in the county.” Ex. 3. The recount began that same

day. After Republican Party complaints about access, the Secretary announced that

counties could allow as many designated monitors from each party as their space

could accommodate. Ex. 15. Both the Democratic and Republican Parties of Georgia

had numerous, and often equivalent numbers, of observers on-site at recount

locations throughout the duration of the recount. See, e.g., Vailes Aff. ¶¶ 5–6, 10–

11; Thomas Aff. ¶¶ 7–8; Brandon Aff. ¶ 17; Sumner Aff. ¶ 5–6; Lourie Aff. ¶ 7;

Alston Aff. ¶ 7; Cason Aff. ¶¶ 5–6, 11; Young Aff. ¶ 6; Graham Aff. ¶¶ 5, 13; Short

Aff. ¶¶ 7–9, 11, 13, 15; see infra Section C(3). Multiple recount locations also live-

streamed the process, and several major state and national new outlets observed and




                                         -5-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 6 of 25




reported on the proceedings. See e.g., Ex. 14. No major irregularities in the original

counts or the recount have been reported. As of November 18, all counties had

finished the recount.

      Plaintiff filed his initial Complaint on November 13 and his Amended

Complaint on November 16, more than eight months after the Settlement Agreement

was finalized, 59 days after voters begin voting absentee, 32 days after elections

officials started separating absentee envelopes from ballots, and 13 days after the

general election. Just two days before the certification deadline, Plaintiff filed his

“emergency” motion for temporary injunction, seeking to stop certification of the

election results and to install Georgia Republican Party overseers for virtually every

aspect of Georgia’s signature-matching and ballot-counting election processes. In

addition to his Motion, Plaintiff also filed several specious affidavits, including one

redacted and unsigned affidavit from an unidentified individual in Venezuela, as

well as a vague affidavit filed with speculation and opinions from an individual

apparently intended as an expert report.1


1
 For his due process claim, Plaintiff relies on 16 affidavits from recount observers
(primarily individuals from outside the State of Georgia) which describe run-of-the-
mill election complaints, see infra Section C(3), and then purport to express
speculative and conclusory opinions about voter fraud based on clear
misunderstandings of Georgia election procedures and ballot styles. The Political
Party Committees request that the Court strike the portions of these affidavits




                                         -6-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 7 of 25




      The Political Party Committees filed their motion to intervene on November

18, ECF No. 8, and their motion to dismiss the same day, ECF No. 8-1, which is

incorporated fully herein.

                                III.   ARGUMENT

A.    Legal Standard

      A party seeking a preliminary injunction must establish “(1) a substantial

likelihood of success on the merits; (2) that irreparable injury will be suffered if the

relief is not granted; (3) that the threatened injury outweighs the harm the relief

would inflict on the non-movant; and (4) that entry of the relief would serve the

public interest.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th

Cir. 2005) (per curiam). “[A] preliminary injunction is an extraordinary and drastic



reflecting such opinions. See United States v. Spellissy, 374 F. App’x 898, 900 (11th
Cir. 2010) (finding no abuse of discretion by district court that struck affidavits it
found were “scandalous [in] nature” and lacked “probative value”); Rogers v. Evans,
792 F.2d 1052, 1062 n. 9 (11th Cir. 1986) (concluding that affidavits “phrased in
conclusory terms without citing facts” were properly stricken). Further, though
seemingly unconnected to any of his claims and not relied on in his brief, Plaintiff
also includes a redacted anonymous declaration from someone in Venezuela
discussing election machines, an article on election machines and security, and an
unsupported “expert” affidavit that fails to meet even the basic reliability standards
set out in Daubert v. Merrell Dow Pharmaceuticals Inc., 509 U.S. 579 (1993). The
Political Party Committees also request that the Court strike these as hearsay, and
further request the so-called expert report be excluded under the Daubert standard. In
support of this latter request, the Political Party Committees submit the Expert
Report of Dr. Jonathan Rodden, which details the methodological and conceptual
errors in the Plaintiff’s purported expert’s report. See Ex. 16.


                                          -7-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 8 of 25




remedy that should not be granted unless the movant clearly carries its burden of

persuasion on each of these prerequisites.” Suntrust Bank v. Houghton Mifflin Co.,

252 F.3d 1165, 1166 (11th Cir. 2001) (per curiam).

B.    Plaintiff lacks standing.

      At the outset, Plaintiff’s request for injunctive relief should be dismissed

because Plaintiff does not have standing for the reasons extensively set forth in the

Political Party Committees’ motion to dismiss, see ECF No. 8-2 at 7–13,

incorporated by reference here. In short, Plaintiff lacks standing because he has

neither pleaded nor suffered a cognizable injury-in-fact, asserting only generalized

grievances about Defendants’ supposed defiance of state law. Plaintiff also lacks

prudential standing to assert the claims of others; he cannot step into the Georgia

General Assembly’s shoes to prosecute the Elections and Electors Clause claims,

nor can he maintain a recount-related “due process” claim on behalf of the Georgia

Republican Party or the “non-party” monitors. See Prelim. Inj. Mot. at 11.2




2
  Plaintiff also relies on Meek v. Metro. Dade Cty. Fla., 985 F.2d 1471, 1480 (11th
Cir. 1993), which the Eleventh Circuit explicitly abrogated thirteen years ago. See
Dillard v. Chilton Cty. Comm’n, 495 F.3d 1324, 1331-1332 (11th Cir. 2007). This
fact is plain; for example, Meek is red-flagged on Westlaw.


                                        -8-
        Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 9 of 25




C.    Plaintiff is not likely to succeed on the merits of his claims.

      Even if Plaintiff had standing to invoke the jurisdiction of this Court, he in

any event does not have the faintest likelihood of success on the merits of his claims,

much less a “substantial” likelihood. This first factor is dispositive by itself.

      1.     Plaintiff is not likely to succeed on his Equal Protection claim.3

      Plaintiff is unlikely to succeed on the merits of his Equal Protection claim

because he fails to demonstrate any burden on his or anyone else’s right to vote or

any disparate treatment of voters.4

      Plaintiff asserts that there has been “disparate treatment” of voters. Prelim.

Inj. Mot. at 18. To sustain a such an Equal Protection claim, a plaintiff must

necessarily allege that similarly situated voters are treated differently. See, e.g.,

Obama for Am. v. Husted, 697 F.3d 423, 428 (6th Cir. 2012) (Equal Protection

Clause applies when state classifies voters in disparate ways). But Plaintiff does not

allege that he or any other voter in Georgia is being treated differently from similarly


3
  For additional discussion, see ECF No. 8-2 at 15–17.
4
  Though it is not entirely clear why, Plaintiff’s Equal Protection claim includes
extensive discussion of burdens on the right to vote. See Prelim. Inj. Mot. at 15–17.
This is irrelevant, as he does not allege any such burden. Nor does Plaintiff offer any
evidence that the Settlement Agreement disenfranchised any voter, created obstacles
to voting, or resulted in any lawfully cast ballot not being counted. Rather, the
Settlement Agreement helped protect the right to vote by occasioning the
implementation of uniform signature match protocols. It logically could not impede
Plaintiff’s right to vote or anyone else’s.


                                          -9-
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 10 of 25




situated voters because of the Settlement Agreement; rather, he alleges that the

disparate treatment is in purportedly processing absentee ballots according to the

process set forth in the Settlement Agreement which, he complains, is different than

the Election Code allegedly requires. See Prelim. Inj. Mot. at 18 (“The result [of the

Settlement Agreement] is that absentee ballots have been processed differently by

County Officials than the process created by the Georgia Legislature and set forth in

the Georgia Election Code.”). Different or not, the process about which Plaintiff

complains was provided in uniform, statewide guidance—which Plaintiff concedes.

See Am. Compl. ¶ 25 (complaining that Settlement Agreement “set[s] forth different

standards” than statutes require for all authorities “in the State of Georgia”); Prelim.

Inj. Mot. at 18. This is not an Equal Protection violation. See Husted, 697 F.3d at

428.

       Further, even if it were, the Secretary has a strong interest in uniform

application of state election laws that easily justifies the modest procedures in the

Settlement Agreement. See, e.g., Brooks v. State Bd. of Elections, 775 F. Supp. 1470,

1489 (S.D. Ga. 1989), aff’d, 498 U.S. 916 (1990) (“The state’s overriding

independent, legitimate interest in maintaining a uniform election procedure is

clearly shown.”); Texas League of United Latin Am. Citizens v. Hughs, 978 F.3d

136, 149 (5th Cir. 2020) (“[T]he Secretary has articulated important state interests




                                         - 10 -
         Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 11 of 25




in ensuring election uniformity . . . .”). The Settlement Agreement and resulting

regulations merely require double-checking ballot rejection determinations made

through the statutory process; this reduces the risk of accepting noncompliant

ballots, while ensuring uniform and fair treatment of all voters within the existing

statutory framework. As such, the Settlement Agreement lessens the likelihood that

voters are disparately treated in violation of the Equal Protection Clause or that their

right to vote is unduly burdened. Thus, Plaintiff is unlikely to succeed on this claim.

        2.     Plaintiff is not likely to succeed on his Elections and Electors Clause
               claims.5

        As an individual voter, Plaintiff lacks standing to bring his Elections and

Electors Clause claims, see ECF No. 8-2 at 10, but they lack merit in any event. The

Elections and Electors Clause vest authority in “the Legislature” of each state to

regulate “[t]he Times, Places, and Manner of holding Elections for Senators and

Representatives,” U.S. CONST. art. I, § 4, cl. 1., and to direct the selection of

presidential electors, U.S. CONST. art. II, § 1, cl. 2, respectively. But innumerable

courts to examine this issue have held that the use of the term “Legislature” does not

preclude the delegation of such legislative authority. See, e.g., Ariz. State Legislature

v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 807 (2015) (noting that



5
    For additional discussion, see ECF No. 8-2 at 18–21.


                                          - 11 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 12 of 25




Elections Clause does not preclude “the State’s choice to include” state officials in

lawmaking functions so long as such involvement is “in accordance with the method

which the State has prescribed for legislative enactments”) (internal quotations

omitted).6

      Accordingly, the actions of the Secretary could only constitute plausible

violations of the Elections and Electors Clauses if such actions exceeded the

authority granted to him by the Georgia General Assembly.7 They plainly did not.

Pursuant to Georgia law, the Secretary is the chief election official for the State,

O.C.G.A § 21-2-50(b), and the General Assembly has granted him the power and

authority to manage Georgia’s election system, including the absentee voting

system. See Fair Fight Action, Inc. v. Raffensperger, 413 F. Supp. 3d 1251 (N.D.

Ga. 2019); Ga. Op. Att’y Gen. No. 2005-3 (Apr. 15, 2005) (recognizing the



6
  Given the functionally identical roles that the Elections and Electors Clauses serve,
with the former setting the terms for congressional elections and the latter
implicating presidential elections, see id. at 839 (2015) (Roberts, C.J., dissenting)
(noting that Electors Clause is “a constitutional provision with considerable
similarity to the Elections Clause”), this same logic applies equally to the Electors
Clause.
7
  As explained in the Political Party Committees’ motion to dismiss, it does not
appear that Plaintiff is challenging the notice and cure procedures under the Electors
and Elections Clauses, but even if he were, as discussed therein, see ECF No. 8-2 at
20, those rules were promulgated pursuant to state law and went through a full public
notice and comment period, which is within the authority delegated to the Board by
the Georgia General Assembly.


                                         - 12 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 13 of 25




Secretary’s authority to manage Georgia’s election system). Additionally, the

Secretary is the Chair of the Board, which is the governmental body responsible for

uniform election practice in Georgia. O.C.G.A. § 21-2-31; see also Curling v.

Raffensperger, 403 F. Supp. 3d 1311, 1345 (N.D. Ga. 2019) (“[T]he [] Board is

charged with enforcing Georgia’s election code under state law.”). The Secretary

was well within that authority in entering into the Settlement Agreement and

ensuring the signature verification protocols were uniform across Georgia.

      Plaintiff’s Elections and Electors Clause claims are entirely premised on the

notion that, by promulgating procedures to implement the Settlement Agreement,

“Defendants altered the otherwise statutorily mandated procedure contrary to the

Georgia Election Code.” Prelim. Inj. Mot. at 19. Put simply, this is false. The

Settlement Agreement and resulting procedures are in no way inconsistent with the

Georgia Election Code. The Secretary’s signature review guidance explicitly seeks

to promote uniform application of the signature verification processes “required by

Georgia law.” Ex. 5 at 1. In order to “[e]nsur[e] that signatures match . . . in this time

of increased absentee voting due to the COVID-19 crisis,” the Secretary required

election administrators to double check that the statutory procedures had been

properly followed. Id. at 1-2. The OEB merely “strengthened signature match”

procedures. Ex. 9. It defies logic to suggest that ensuring more rigorous compliance




                                          - 13 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 14 of 25




with a law somehow violates that law. For all these reasons, Plaintiff’s Elections and

Electors Clause claims necessarily fail.

      3.     Plaintiff is not likely to succeed on his Due Process claim.

      Plaintiff’s due process claim—which is premised on the purported denial of

Republican observers’ right to observe the hand recount—also fails. As a threshold

matter, to succeed on a procedural due process claim, a plaintiff must demonstrate

that he has a “private interest that will be affected by the official action.” Mathews

v. Eldridge, 424 U.S. 319, 334–47 (1976). But neither Georgia law nor the U.S.

Constitution provides a private individual with an enforceable “private interest” in

observing a recount. Rather, as Plaintiff recognizes, Georgia law provides that

candidates and political parties may send “two representatives to be present” at a

recount. See Prelim. Inj. Mot. at 20 (quoting O.C.G.A. § 21-2-495(a)). Thus, neither

Plaintiff—who does not even allege much less present evidence that he even

attempted to observe the recount—nor the individual monitors who submitted

supporting affidavits are due any process as they have no right to monitor recounts

in Georgia. See supra Section B; see also ECF No. 8-2 at 21–23 (explaining that

Plaintiff has no vested interest in the recount observation process).

      More fundamentally, even if an individual could hold such an interest (which

they cannot), the process announced by the Secretary and memorialized in the very




                                           - 14 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 15 of 25




affidavits upon which Plaintiff relies, demonstrates that far more than two observers

per political party were allowed to observe the recount. See Prelim. Inj. Mot. at 11

(explaining that the Secretary permitted two monitors per political party and one per

party for every ten tables); see also Ex. 4; Ex. 15. Indeed, virtually every affiant

supporting Plaintiff’s Motion testifies that they and others were able to freely

observe or participate in the recount process. See ECF Nos. 6-5 at ¶ 5 and 6-13 at ¶

5 (“I was permitted to roam throughout the facility to conduct observations.”); ECF

No. 6-7 at ¶ 21 (noting he was “a Voting Review Panel member”); ECF No. 6-9 at

¶ 6 (noting he could walk to counting table and observe); ECF Nos. 6-11 at ¶¶ 3–7,

6-18 at ¶ 3, and 6-19 at ¶ 2 (noting they were close enough to see how ballots were

filled in); ECF Nos. 6-6, 6-8, 6-10, 6-12, and 6-17 (permitted to observe). And the

Political Party Committees’ affidavits confirm this. See Vailes Aff. ¶¶ 5–6 (noting

equal number of Republican and Democratic monitors in Fulton County), 10-11;

Thomas Aff. ¶¶ 7–8 (observing 20 monitors per party in Fulton County); Brandon

Aff. ¶ 17 (observing at least ten monitors from each political party in Cobb County);

Lourie Aff. ¶ 7 (observing numerous monitors from both parties in Fulton County);

Sumner Aff. ¶¶ 3, 5 (observing more Republican monitors than Democratic monitors

at Gwinnett County); Young Aff. ¶ 10 (observing equal numbers of monitors for

each party in Fulton County); Graham Aff. ¶¶ 5–6, 10, 13 (equal numbers in Fulton




                                        - 15 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 16 of 25




County); Short Aff. ¶¶ 7–10 (same); Alston Aff. ¶ 7 (same); Cason Aff. ¶ 8 (same);

Ghazal Aff. ¶¶ 6–40 (observing Republican monitors in Cobb County); Zydney Aff.

¶ 9 (more Republican monitors inside the rope than allowed). Thus, while Plaintiff

and the Republican affiants might complain about the level of access they were

given, nothing in their affidavits indicates that they were deprived of access to the

recount process or of the process they were due. Cf. Ga. Comp. R. & Regs. 183-1-

12-.11(12) (“Accredited poll watchers shall be allowed to observe the process

described in this rule; however, they must do so in a manner that does not interfere

with poll officials or voters.”).

      To the extent Plaintiff attempts to show that he is likely to succeed on a

substantive due process claim, his claim is equally unavailing. It is well-settled that

“[f]ederal courts should not ‘involve themselves in garden variety election

disputes.’” Serpentfoot v. Rome City Comm’n, No. 4:09-CV-0187-HLM, 2010 WL

11507239, at *16 (N.D. Ga. Mar. 3, 2010) (quoting Curry v. Baker, 802 F.2d 1302,

1315 (11th Cir. 1986) (noting “[o]nly in extraordinary circumstances will a

challenge to a state election rise to the level of a constitutional deprivation”). For the

substantive due process clause to be implicated, the situation “must go well beyond

the ordinary dispute over the counting and marking of ballots.” Curry, 802 F.2d at

1315 (emphasis added). But that is not the case here.




                                          - 16 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 17 of 25




      The incidents Plaintiff complains of—not being close enough to hear poll

worker conversations, ECF Nos. 6-5 at ¶, 11 and 6-13 at ¶ 11; not being able to speak

to poll workers, ECF No. 6-9 at ¶ 15; differences in counting methods, ECF No. 6-

6 at ¶ 5; and isolated discrepancies in ballot placements or ballot recounts, ECF No.

6-5 at ¶ 26—are nothing more than “garden variety” ordinary disputes that would

plague any hand recount. To the extent that the affidavits go beyond that, insinuating

that sightings of “pristine ballots” led affiants to believe that fraud occurred, see ECF

No. 6-4 at ¶ 14, this is nothing more than mere speculation and uninformed opinions

of individuals who are unfamiliar with Georgia elections and, as such, are not only

improper, but also easily explained and refuted, see Ghazal Aff. ¶ 41; Brandon Aff.

¶ 15; see also Ex. 10 (the Secretary explaining that his office has found no evidence

of widespread fraud or irregularities); Ex. 11 (the Secretary “expressed exasperation

over a string of baseless allegations coming from Trump and his allies”); Ex. 12

(“Federal election infrastructure officials said in a joint statement . . . that the 2020

election was the ‘most secure in American history’”). What is not a garden variety

change and is fundamentally unfair, however, is the disenfranchisement of millions

of Georgians and the subsequent imposition of a party-controlled signature

verification and absentee review process, which is precisely what Plaintiff seeks. See

Griffin v. Burns, 570 F.2d 1065 (1st Cir. 1978) (refusing to disenfranchise the




                                          - 17 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 18 of 25




“[a]lmost ten percent of the qualified and voting electorate” who voted “in reliance

on absentee . . . ballot procedures announced by state officials[,]” because doing so

was a due process violation); see also ECF No. 8-2 at 23–24. Accordingly, Plaintiff’s

due process claim is unlikely to succeed.8

D.    Plaintiff does not establish irreparable harm.

      Plaintiff has failed to establish that he will suffer any harm, much less

irreparable harm if his requested relief is not granted. As discussed supra Section B,

Plaintiff brings, at most, generalized grievances or third-party claims. As such, he

cannot demonstrate that he will suffer any harm at all. In contrast, Plaintiff’s

requested relief would in fact cause irreparable injury by depriving between one and

five million Georgians of their votes. See Gonzalez v. Governor of Georgia, 978

F.3d 1266 (11th Cir. 2020) (noting that depriving even a single individual of his right

to vote would cause irreparable harm). As a court in this district recently explained

“[i]t is well-settled that an infringement on the fundamental right to vote amounts

[to] an irreparable injury.” New Georgia Project v. Raffensperger, No. 1:20-CV-




8
  The only case Plaintiff cites to support his due process claim is Marks v. Stinson,
19 F.3d 873 (3rd Cir. 1994), but that case does not support his claim. Indeed, in
Marks, even where there was clear evidence of fraud (not speculation and
insinuations, as here), the court refused to permit all absentee ballots to be discarded.
Id. at 887.


                                          - 18 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 19 of 25




01986-ELR, 2020 WL 5200930, at *26 (N.D. Ga. Aug. 31, 2020). Thus, Plaintiff

has failed to establish this element of his request for preliminary relief.

      E.     The balance of the equities and public interest weigh against a
             preliminary injunction.

      There is no question that the balance of the equities and the public interest

weigh against Plaintiff’s requested relief. Plaintiff asks this Court to disenfranchise

between one and five million voters who dutifully cast their votes after the election

is over. Such relief is unprecedented. See Short v. Brown, No. 2:18-CV-00421 TLN-

KJN, 2018 WL 1941762, at *8 (E.D. Cal. Apr. 25, 2018), aff’d, 893 F.3d 671 (9th

Cir. 2018) (quoting Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914,

919 (9th Cir. 2003) (en banc) (“[I]nterference with an election after voting has begun

is unprecedented.”). And it is certainly not in the public interest. See Democratic

Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir. 2019) (“[T]he public

interest is served when constitutional rights are protected.”); Jones v. Governor of

Fla., 950 F.3d 795, 831 (11th Cir. 2020) (“The public, of course, has every interest

in ensuring that their peers who are eligible to vote are able to do so in every

election.”); Scott v. Roberts, 612 F.3d 1279, 1296 (11th Cir. 2010) (indicating these

factors weigh against preliminary relief when it “would require the state to . . .

discard ballots already cast”).




                                         - 19 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 20 of 25




      Indeed, instead of remedying a constitutional violation, granting Plaintiff’s

requested relief would violate millions of Georgians’ constitutional rights. See

Bognet v. Sec’y Commonwealth of Pennsylvania, No. 20-3214, 2020 WL 6686120,

at *1, *8 (3d Cir. Nov. 13, 2020) (“[It is] indisputable in our democratic process:

that the lawfully cast vote of every citizen must count”); Stein v. Cortés¸ 223 F.

Supp. 3d 423, 442 (E.D. Pa 2016) (granting relief that “could well ensure that no

Pennsylvania vote counts . . . would be both outrageous and completely

unnecessary”). Moreover, the harm would not stop there. In addition to

disenfranchising voters, “knowledge that otherwise-eligible voters were not counted

would be harmful to the public’s perception of the election’s legitimacy,” and

therefore weighs even further against the public interest. Jones, 950 F.3d at 830

(internal quotation marks omitted).

      In contrast, Plaintiff, who unjustifiably waited over eight months and three

election cycles to bring his claim challenging the Settlement Agreement, has

articulated no injuries whatsoever and as such would suffer no harm if this Court

were to withhold relief.9


9
 It is equally appropriate to consider Plaintiff’s delay in bringing his claims as part
of a laches argument, like the one the Political Party Committees set forth in their
Motion to Dismiss. See ECF No. 8-2, at *13–15. Thus, Plaintiff’s delay should either
bar consideration of his claims entirely (laches) or alternatively warrant denial of his
TRO on the merits (balancing of the equities / public interest).


                                         - 20 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 21 of 25




      The same is true of Plaintiff’s requested relief with respect to the recount,

which seeks statewide recourse for purported infringements in only a handful of

counties and, most egregiously, asks for Republican-only surveillance of every step

of Georgia’s processing of individual votes in a manner likely violating multiple

provisions of state law both backward looking and in future elections. See Prelim.

Inj. Mot. at 23–25. Such relief is unprecedented in scope and plainly not justified by

Plaintiff’s paltry alleged harms.

      Ultimately, “[t]he chief function of a preliminary injunction is to preserve the

status quo until the merits of the controversy can be fully and fairly adjudicated.”

Robinson v. Attorney Gen., 957 F.3d 1171, 1178–79 (11th Cir. 2020) (quoting Ne.

Fla. Ch. of Ass’n of Gen. Contractors v. City of Jacksonville, 896 F.2d 1283, 1284

(11th Cir. 1990)). Here, the status quo is that the widely publicized, well-accepted

procedures of the Settlement Agreement were used to conduct an election in which

President-Elect Joseph Biden won more Georgians’ votes. The results of that

election have been announced and now confirmed by a rigorous hand recount of all

ballots cast which both parties were able to observe. The Court should not grant an

injunction that would upend the status quo and wreak havoc on the state’s election

apparatus, especially in light of the weakness of Plaintiff’s claims.




                                         - 21 -
      Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 22 of 25




                              IV.   CONCLUSION

      For these reasons, the Political Party Committees respectfully request that the

Court deny Plaintiff’s Emergency Motion for Injunctive Relief.




Dated: November 19, 2020.             Respectfully submitted,

                                         Adam M. Sparks
                                         Halsey G. Knapp, Jr.
                                         Georgia Bar No. 425320
                                         Joyce Gist Lewis
                                         Georgia Bar No. 296261
                                         Susan P. Coppedge
                                         Georgia Bar No. 187251
                                         Adam M. Sparks
                                         Georgia Bar No. 341578
                                         KREVOLIN AND HORST, LLC
                                         One Atlantic Center
                                         1201 W. Peachtree Street, NW, Ste. 3250
                                         Atlanta, GA 30309
                                         Telephone: (404) 888-9700
                                         Facsimile: (404) 888-9577
                                         hknapp@khlawfirm.com
                                         jlewis@khlawfirm.com
                                         coppedge@khlawfirm.com
                                         sparks@khlawfirm.com

                                         Marc E. Elias*
                                         Amanda R. Callais*
                                         Alexi M. Velez*
                                         Emily R. Brailey*
                                         PERKINS COIE LLP
                                         700 Thirteenth Street NW, Suite 800
                                         Washington, DC 20005



                                       - 22 -
Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 23 of 25




                              Telephone: (202) 654-6200
                              melias@perkinscoie.com
                              acallais@perkinscoie.com
                              avelez@perkinscoie.com
                              ebrailey@perkinscoie.com

                              Kevin J. Hamilton*
                              Amanda J. Beane*
                              PERKINS COIE LLP
                              1201 Third Avenue, Suite 4900
                              Seattle, Washington 98101
                              Telephone: (206) 359-8000
                              khamilton@perkinscoie.com
                              abeane@perkinscoie.com

                              Gillian C. Kuhlmann*
                              PERKINS COIE LLP
                              1888 Century Park East, Suite 1700
                              Los Angeles, California 90067
                              Telephone: (310) 788-3900
                              gkuhlmann@perkinscoie.com

                              Matthew J. Mertens*
                              Georgia Bar No: 870320
                              PERKINS COIE LLP
                              1120 NW Couch Street, 10th Floor
                              Portland, Oregon 97209
                              Telephone: (503) 727-2000

                              Counsel for Proposed Intervenor-
                              Defendants

                              *Pro Hac Vice Application Pending




                             - 23 -
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 24 of 25




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. Lin Wood, Jr.,

             Plaintiff,                              CIVIL ACTION FILE NO.
                                                     1:20-cv-04651-SDG
v.
Brad Raffensperger, in his official capacity
as Secretary of the State of Georgia, et al.,

             Defendants.


                          CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.

Dated: November 19, 2020.                       Adam M. Sparks
                                                Counsel for Proposed Intervenor-
                                                Defendants
       Case 1:20-cv-04651-SDG Document 31 Filed 11/19/20 Page 25 of 25




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. Lin Wood, Jr.,

             Plaintiff,                              CIVIL ACTION FILE NO.
                                                     1:20-cv-04651-SDG
v.
Brad Raffensperger, in his official capacity
as Secretary of the State of Georgia, et al.,

             Defendants.


                           CERTIFICATE OF SERVICE
      I hereby certify that on November 19, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.

Dated: November 19, 2020.                       Adam M. Sparks
                                                Counsel for Proposed Intervenor-
                                                Defendants
